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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

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UNITED STATES OF AMERICA ”::::’“h*“'
_ V_ _ : SEALED INDICTMENT
AvTANDIL KHURTSIDZE :C§l>m Cr
a/k/a “The Kickboxer,” CRM 3 5 0
Defendant. X:g,??
COUNT ONE
(Racketeering Conspiracy)
The Grand Jury charges:
THE SHULAYA ENTERPRISE
l. At all times relevant to this Indictment, AVTANDIL

KHURTSIDZE, a/k/a “The Kickboxer,” the defendant, and others known
and unknown, were members and associates of the “Shulaya Enterprise.”
The Shulaya Enterprise was an organized criminal group operating
under the direction and protection of Razhden Shulaya, a “vor v
Zakonei” or “vor," which are Russian phrases translated roughly as
“Thief-in-Law" or “Thief,” and which refer to an order of elite
criminals from the former Soviet Union who receive tribute from other
criminals, offer protection, and use their recognized status as “vor”
to adjudicate disputes among lower-level criminals. As a vor,
Shulaya had substantial influence in the criminal underworld and

offered assistance to a§:i `§rotection of the members and associates

Case 1:17-cr-00350-KBF Document 58 Filed 06/07/17 Page 2 of 13 z

of the Shulaya Enterprise. Those members and associates, and Shulaya
himself, engaged in widespread criminal activities, including acts
of violence, extortion, the operation of illegal gambling businesses,
fraud on various casinos, identity theft, credit card frauds, and
trafficking in large quantities of stolen goods.

2. The Shulaya Enterprise, including its leadership,
membership, and associates, constituted an “enterprise” as that term
is defined in Title 18, United States Code, Section 1961(4), that
is, a group of individuals associated in fact, although not a legal
entity (the “Enterprise”). This Enterprise was engaged in, and its
activities affected, interstate and foreign commerce. The Shulaya
Enterprise was an organized criminal group based in New York City
that operated in the Southern District of New York and elsewhere and
Constituted an ongoing organization whose members functioned as a
continuing unit for a common purpose of achieving the objectives of
the Enterprise.

THE SHULAYA ENTERPRISE LEADERSHIP

 

3. The Shulaya Enterprise operated. through. groups of
individuals, often with overlapping members or associates, dedicated
to particular criminal tasks. While many of these crews were based
in New York City, the Shulaya Enterprise had operations in various
locations throughout the United States (including in New Jersey,
Pennsylvania, Florida, and Nevada) and abroad. Most members and

associates of the Shulaya Enterprise were born in the former Soviet

Case 1:17-cr-00350-KBF Document 58 Filed 06/07/17 Page 3 of 13 "

Union and many maintained substantial ties to Georgia, the Ukraine,
and the Russian Federation, including regular travel to those
countries, communication with associates in those countries, and the
transfer of criminal proceeds to individuals in those countries.

4. The Shulaya Enterprise was led principally by two
individuals, Razhden Shulaya and Zurab Dzhanashvili who each
coordinated and directed lower-level members and associates of the
Shulaya Enterprise,

-5. Razhden. Shulaya was at the center' of the Shulaya
Enterprise, and, as a vor, was entitled to tribute payments and other
benefits provided by his loyal subordinates within or associated with
the Shulaya Enterprise, Shulaya oversaw the following criminal
activities, among others; illegal gambling activities; efforts to
extort those who owed debts to the Shulaya Enterprise's gambling
operation and others; trafficking in contraband cigarettes and stolen
merchandise; efforts to defraud casinos through the use of electronic
devices and software designed to predict the behavior of particular
models of electronic “slot” machines; access device fraud and
identity theft; narcotics trafficking; efforts to rob wealthy
persons; and the use of violence to maintain control over his criminal
operation.

6. Zurab Dzhanashvili was a principal lieutenant within
the Shulaya Enterprise, who supported and coordinated various

criminal activities involving numerous members and associates of the

 

Case 1:17-cr-OO350-KBF Document 58 Filed 06/07/17 Page 4 of 13 "

Shulaya Enterprise. In his role as a lieutenant within the Shulaya
Enterprise, Dzhanashvili coordinated the following criminal
activities, among others; illegal gambling activities; efforts to
extort those who owed debts to the Shulaya Enterprise's gambling
operation and others; trafficking in contraband cigarettes and stolen
merchandise; access device fraud and identity theft; and the use of
a female member` of the Shulaya Enterprise to lure victims into
circumstances in which Dzhanashvili and others would rob those
victims.

PURPOSES OF THE ENTERPRISE

 

7. The purposes of the Shulaya Enterprise included the
following:
a. Enriching the members and associates of the
Shulaya Enterprise through, among other things, (i) the operation
of illegal gambling businesses; (ii) the extortionate control of
'businesses, persons, and property through threats of physical and
economic harm; (iii) robbery; (iv) the receipt, sale, and
transportation of contraband cigarettes; (v) the receipt, sale,
and transportation of stolen goods; (vi) the use of counterfeit
credit cards and stolen personal identifying information; (vii)
the use of electronic devices and software designed to defraud
casinos; and (viii) narcotics trafficking.
b. Preserving and protecting the power and

financial profits of the Shulaya Enterprise through intimidation,

 

Case 1:17-cr-OO350-KBF Document 58 Filed 06/07/17 Page 5 of 13 "

violence, and threats of physical and economic harm;

c. Promoting and enhancing the Shulaya Enterprise
and the activities of its members and associates; and

d. Keeping victims and citizens in fear of the
Shulaya Enterprise and associates by: (i) identifying the Shulaya
Enterprise, its members, and its associates with Razhden Shulaya
the defendant, and his status as a vor; (ii) causing and
threatening to cause economic harm; and (iii) committing and
threatening to commit physical violence.

MEANS AND METHODS OF THE ENTERPRISE

 

8. Among the means and methods employed by the members
and associates in conducting and participating in the affairs of
the Shulaya Enterprise were the following:

a. To protect and expand the Shulaya Enterprise's
business and criminal operations, members and associates of the
Shulaya Enterprise conspired to threaten, assault, and intimidate
persons who engaged in activity that jeopardized (i) the power and
criminal activities of the Shulaya Enterprise; (ii) the power of
leaders of the Shulaya Enterprise; and (iii) the flow of criminal
proceeds to the Shulaya Enterprise.

b. Members and associates of the Shulaya
Enterprise generated income for the Enterprise through, among
other things (i) the operation of illegal gambling businesses;

(ii) the extortionate control of businesses, persons, and property

 

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Case 1:17-cr-OO350-KBF Document 58 Filed 06/07/17 Page 6 of 13 "

through threats of physical and economic harm; (iii) robbery; (iv)
the receipt, sale, and transportation of contraband cigarettes;
(v) the receipt, sale, and transportation of stolen goods; (vi)
the use of counterfeit credit cards and stolen personal identifying
information; (vii) the use of electronic devices and software
designed to defraud casinos; and (viii) narcotics trafficking.

c. Members and associates of the Enterprise at
times engaged in criminal conduct and coordinated their criminal
activities with leaders, members, and associates of other criminal
associations.

d. Members and associates of the Shulaya
Enterprise used various techniques to avoid law enforcement
scrutiny of the Shulaya Enterprise's criminal activities, Members
and associates of the Shulaya Enterprise typically used coded
language to make arrangements for meetings and to refer to other
members and associates of the Shulaya Enterprise, and took other
steps to frustrate law enforcement's efforts to overhear their
discussions. Members and associates of the Shulaya Enterprise
also engaged in other evasive conduct, such as the use of
particular cellular telephones for the discussion of particular
criminal activities, the use of encrypted communications
applications and devices when discussing criminal activities in an
effort to thwart potential law enforcement eavesdropping, and the

omission of names of those about whom they were speaking. Members

Case 1:17-cr-OO350-KBF Document 58 Filed 06/07/17 Page 7 of 13 "*

and associates of the Shulaya Enterprise also attempted to thwart
potential law enforcement eavesdropping by engaging in “in-person”
meetings to discuss criminal activities and by stating that certain
conversations should be conducted in person, and not by telephone.

THE RACKETEERING CONSPIRACY

 

9. From at least in or about 2014, up to and including
the date of the indictment, in the Southern District of New York
and elsewhere, AVTANDIL KHURTSIDZE, a/k/a “The Kickboxer,” the
defendant, and others known and unknown, being persons employed by
and associated with the Enterprise described above, namely, the
Shulaya Enterprise, which was engaged in, and the activities of
which affected, interstate and foreign commerce, willfully and
knowingly combined, conspired, confederated, and agreed together
and with each other to violate the racketeering laws of the United
States, to wit, Title 18, United States Code, Section l962(c),
that is, to conduct and participate, directly and indirectly, in
the conduct of the affairs of the Shulaya Enterprise through a
pattern of racketeering activity, as that term is defined in Title
18, United States Code, Sections 1961(1) and 1961(5), consisting
of multiple:

a. Acts and threats involving extortion, in
violation of New York State Penal Law, Sections 155.40, 105.10,
and ll0.00;

b. Acts involving robbery, in violation of New

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Case 1:17-cr-OO350-KBF Document 58 Filed 06/07/17 Page 8 of 13

Jersey Code of Criminal Justice, Sections 2C:15~1, 2C:5-1, and
2C:5~2.

c. Acts indictable under Title 18, United States
Code, Section 1951 (relating to extortion);

d. Acts involving gambling, in violation of New
York State Penal Law, Section 225.10;

e. Acts indictable under Title 18, United States
Code, Section 1955 (relating to the prohibition of illegal gambling
businesses);

f. Acts indictable under Title 18, United States
Code, Section 1343 (wire fraud);

g. Acts indictable under Title 18, United States
Code, Section 2314 (interstate transportation of stolen property);

h. Acts indictable under Title 18, United States
Code, Section 2315 (interstate receipt and possession of stolen
property);

i. Acts indictable under Title 18, United States
Code, Section 2342 (shipping, transporting, receiving, possessing,
selling, distributing, and purchasing contraband cigarettes);

j. Acts indictable under Title 18, United States
Code, Section 1028 (fraud and related activity in connection with
identification documents);

k. Acts indictable under Title 18, United States

Code, Section 1029 (access device fraud); and

Case 1:17-cr-OO350-KBF Document 58 Filed 06/07/17 Page 9 of 13 *`

c. On or about September 1, 2016, in the vicinity
of 59ulStreet, Brooklyn, New York, AVTANDIL KHURTSIDZE, a/k/a “The
Kickboxer,” the defendant, acting at Shulaya’s direction, received
a “Pelican Pete” electronic “slot” machine frtm1 a confidential
source (“CS-2”) and transported that machine to an apartment
belonging to another individual.

(Title 18, United States Code, Section 1962(d).)

COU'NT TWO
(Wire Fraud Conspiracy)

The Grand Jury further charges:

12. From at least in or about September 2016, up to and
including in or about May 2017, in the Southern District of New
York and elsewhere, AVTANDIL KHURTSIDZE, a/k/a “The Kickboxer,”
the defendant, and others known and unknown, knowingly and
willfully did combine, conspire, confederate and agree together
and with each other to commit an offense against the United States,
to wit, to violate Title 18, United States Code, Section 1343.

13. It was a part and an object of the conspiracy that
AVTANDIL KHURTSIDZE, a/k/a “The Kickboxer,” the defendant, and
others known and unknown, having devised and intending to devise
a scheme and artifice to defraud, and for obtaining money and
property by means of false and fraudulent pretenses,
representations, and promises, and attempting to do so, would and

did transmit and cause to be transmitted by means of wire, radio,

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Case 1:17-cr-00350-KBF Document 58 Filed 06/07/17 Page 10 of 13 3‘

and television communication in interstate and foreign commerce,
writings, signs, signals, pictures, and sounds for the purpose of
executing such scheme and artifice, in violation of Title 18,
United States Code, Section 1343, to wit, a scheme to defraud
casinos through the use of electronic devices and software designed
to predict the behavior of particular models of electronic “slot”
machines, thereby removing the element of chance from play of those
machines.
(Title 18, United States Code, Section 1349.)

FORFEITURE ALLEGATIONS AND SUBSTITUTE ASSET PROVISION

 

FORFEITURE ALLEGATION AS TO COUNT ONE

 

14. As a result of committing the offense alleged in
Count One of this Indictment, AVTANDIL KHURTSIDZE, a/k/a “The
Kickboxer,” the defendant, shall forfeit to the United States,
pursuant to Title 18, United States Code, Section 1963,

a. any interest acquired or maintained in
violation of Title 18, United States Code, Section 1962, as charged
in Count One;

b. any interest in, security of, claim against,
or property or contractual right of any kind affording a source of
influence over, any enterprise established, operated, controlled,
conducted, or participated in the conduct in violation of Title

18, United States Code, Section 1962, as charged in Count One; and

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Case 1:17-cr-00350-KBF Document 58 Filed 06/07/17 Page 11 of 13 "

c. any property constituting, or derived from,
any proceeds obtained, directly or indirectly, from racketeering
activity in violation of Title 18, United States Code, Section
1962, as charged in Count One.

FORFEITURE ALLEGATION AS TO COUNT TWO

15. As a result of committing the offense charged in
Count Two of this Indictment, AVTANDIL KHURTSIDZE, a/k/a “The
Kickboxer,” the defendant, shall forfeit to the United States,
pursuant to Title 18, United States Code, Section 981(a)(1)(C) and
Title 28, United States Code, Section 2461, any and all property,
real or personal, that constitutes or is derived from proceeds
traceable to the commission of the offense charged in Count Five
of this Indictment.

Substitute Asset Provision

 

16. If any of the above described forfeitable property,
as a result of any act or omission of the defendant:
a. Cannot be located upon the exercise of due
diligence;
b. Has been transferred or sold to, or deposited

with, a third person;

c. Has been placed beyond the jurisdiction of the
Court;

d. Has been substantially diminished in value; or

e. Has been commingled with other property which

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Case 1:17-cr-00350-KBF Document 58 Filed 06/07/17 Page 12 of 13 "

cannot be subdivided without difficulty;
it is the intent of the United States, pursuant to Title 18, United
States Code, Section 1963(m) and Title 21, United States Code,
Section 853(p), to seek forfeiture of any other property of said
defendants up to the value of the forfeitable property.

(Title 18, United States Code, Sections 981(a)(l)(C) and 1963,

and Title 21, United States Code, Section 853, and Title 28,
United States Code, Section 2461.)

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FOREPERSON JOOV H . KIM ns
Acting United States Attorney

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Case 1:17-cr-00350-KBF Document 58 Filed 06/07/17 Page 13 of 13

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
_ v. _

AVTANDIL KHURTSIDZE, a/k/a “The
Kickboxer,”

Defendant.

 

SEALED INDICTMENT

 

si 17 cr.
(13 U.s.C. §§ 1962 & 1349.)

JOON H. KIM
Acting United States Attorney.

 

A TRUE BILL

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Foreperson.

 

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